                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                              Plaintiff,       )
                                               )
               v.                              )      No. 13-04051-08-CR-C-BCW
                                               )
JENNIFER LYNN WALL,                            )
                                               )
                              Defendant.       )


                           ACCEPTANCE OF PLEA OF GUILTY
                            AND ADJUDICATION OF GUILT

Pursuant to the Report and Recommendation of United States Magistrate Judge Matt J. Whitworth,

to which no objection has been filed, the plea of guilty to Count Six of the Superseding Indictment

filed on October 1, 2014 is now accepted.      Defendant is adjudged guilty of such offense.

Sentencing will be set by subsequent order of the court.


                                                       /s/ Brian C. Wimes
                                                      JUDGE BRIAN C. WIMES
                                                      UNITED STATES DISTRICT COURT

Dated: November 18, 2014




      Case 2:13-cr-04051-BCW               Document 146     Filed 11/18/14     Page 1 of 1
